 8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 1 of 10 - Page ID # 729




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

EQUAL EMPLOYMENT                                 )
OPPORTUNITY COMMISSION,                          )
                                                 )      Case No. 21-369-BCB-SMB
              Plaintiff,                         )
                                                 )      PLAINTIFF EEOC’S BRIEF
v.                                               )      OPPOSING DEFENDANT’S
                                                 )      MOTION TO DISMISS
BNSF RAILWAY COMPANY,                            )      PLAINTIFF’S SECOND
                                                 )      AMENDED COMPLAINT
              Defendant.                         )



                                   INTRODUCTION
       Plaintiff EEOC filed a Complaint in this matter in September 2021, alleging that

from October 2011 to the present, Defendant BNSF Railway subjected conductor Rena

Merker and other “similarly aggrieved women working out of Defendant's Alliance,

Nebraska railyard” to a near daily barrage of sexually harassing conduct by both

coworkers and supervisors. Doc. 1, ¶ 16. The conduct included sexual comments,

derogatory comments and slurs about women, circulation of nude pictures and

photographs, and other sexual and hostile actions toward female employees. Id.

BNSF moved to dismiss the complaint and the EEOC filed a First Amended Complaint

in response. Doc. 10.

       BNSF moved to dismiss the First Amended Complaint. The Court denied

Defendant’s motion on all grounds save one: the Court found EEOC’s First Amended

Complaint did not adequately plead “that all the female employees referenced in the

Amended Complaint suffered similar acts of similar discrimination” or “indicate the size

of this group.” Doc. 28, p. 23. Noting that nothing should prevent the EEOC from

indicating the size of the group of aggrieved individuals and alleging “that they faced
    8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 2 of 10 - Page ID # 730




similar acts of discrimination,” the Court gave EEOC leave to amend to do so. Doc. 28,

p. 23. The Court found EEOC’s pleading adequately alleged the core elements of a

hostile work environment sexual harassment claim. 1

      EEOC’s Second Amended Complaint does both things. It provides BNSF and the

Court with information refining the size and scope of the group of similarly aggrieved

individuals and the time-frame in which the sexual harassment occurred. It also adds

the specific narrative allegations of four individual female employees who are members

of the group of similarly aggrieved women as exemplars. The complaint describes

aspects of the hostile environment it clearly alleges were experienced by Merker, the

examplars, and other female employees in the group of aggrieved individuals. Because

EEOC’s Second Amended Complaint fully meets the Court’s requirements, the Court

should deny Defendant’s motion.

                                      ARGUMENT

      EEOC’s Second Amended Complaint gives all information necessary to give BNSF

full notice of the nature of the claimed violation of Title VII and the parameters of the

group of aggrieved individuals harmed by it. The allegations “rise above the speculative

level as required by Twombly and Iqbal” and give BNSF fair notice of the charges

against it because they “specifically detail the scope of the claim by identifying the time


1The Court found EEOC’s First Amended Complaint adequately alleged: factual content
allowing the Court to draw a reasonable inference that discrimination is occurring to a
group of ‘persons aggrieved’ for which the EEOC can seek relief; that several female
employees at the Alliance railyard, like Merker, faced conduct that was unwelcome and
affected a term, condition, or privilege of their employment; that the harassment
targeted female employees because of their sex; and that BNSF knew or should have
known about the harassment. Doc. 28, p. 20-21.
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  8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 3 of 10 - Page ID # 731




period at issue, the alleged perpetrator of the discrimination and the alleged

discriminatory conduct.” E.E.O.C. v. PMT Corp., 40 F. Supp. 3d 1122, 1129–30 (D.

Minn. 2014). EEOC’s Second Amended Complaint includes “1) the statutes defendant

allegedly violated; 2) the time frames of the alleged violations; 3) the identity of the

alleged perpetrators; 4) the name of one presently identified victim and a description of

the class of aggrieved persons ; 5) the specific claims alleged and their elements as to

[the charging party] and the class of aggrieved persons; 6) the types of defendant

conduct to which [the charging party] and the class were subjected; and 7) the remedies

being sought.” E.E.O.C. v. 5042 Holdings Ltd., 2010 WL 148085, at *4 (N.D. W. Va. Jan.

11, 2010) (holding complaint sufficiently stated a claim as to unnamed aggrieved

individuals).


  I.     EEOC’s Second Amended Complaint places BNSF on notice of the
         size of the group of aggrieved individuals.


       EEOC’s Second Amended Complaint meets the Court’s requirement that the

agency “plead sufficient facts for the defendant to ascertain the relative size of the group

for which [it] is making a claim.” Doc. 28, p. 18. The complaint identifies the scope of

the potential aggrieved individuals as women working in Trainmen, Yardmen, Engineer

(TY&E), and Yardmaster positions at its Alliance, Nebraska facility from March 23, 2017

to the present. Doc. 41 ¶ 22. BNSF knows how many women it employed in those

positions during that timeframe.

       The complaint also alleges information from which an approximate number may

be estimated. Based on information known to EEOC, admitted by BNSF, or upon

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    8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 4 of 10 - Page ID # 732




information and belief, BNSF currently employs approximately 485 individuals in TY&E

positions and approximately eight to ten Yardmasters work in the Alliance, Nebraska

railyard at any given time, for a total of approximately 493 to 495 employees in these job

categories at any given time. Doc. 41, ¶21. Approximately five percent or fewer of these

employees at Defendant’s Alliance facility at any given time since 2016 were or are

female. Doc. 41, ¶ 21. Five percent of 495 is 25, so one could estimate that approximately

25 women work in TY&E and Yardmaster positions at any given time. While the

complaint does not allege a specific rate of turnover among TY&E and Yardmaster

positions, BNSF should be able to identify with its own records exactly the number of

women who held TY&E and Yardmaster positions during the actionable time period.

      The complaint further narrows the scope to the subset of potential aggrieved

individuals for whom EEOC may seek relief:

           In this suit, the Commission seeks relief for women who worked in TY&E and
           Yardmaster positions from March 23, 2017 to the present who were subjected
           to a severe or pervasive unwelcome, offensive hostile work environment
           because of their sex, created by the actions of men who worked out of the
           Alliance railyard in TY&E and Yardmaster positions, and in supervisory and
           management positions related to and above the TY&E and Yardmaster jobs.

Doc. 41, ¶ 22 (emphasis added). 2 While not every woman who worked in these positions

in the relevant time period may have suffered actionable harassment (given the

subjective nature of the analysis for each individual), this maximum number of potential




2Evidence of harassing conduct pre-dating March 23, 2017 provides background which
can be used as evidence in this case. However, the EEOC only seeks relief in this suit for
aggrieved individuals who suffered at least one instance of sexual harassment after
March 23, 2017.
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  8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 5 of 10 - Page ID # 733




aggrieved individuals and the statutory caps on individual damages in Title VII cabin

Defendant’s potential liability.

     Less specificity than this has been accepted by several district courts in Rule 12

challenges to complaints in EEOC enforcement actions alleging a group of aggrieved

individuals. In the E.E.O.C. v. 5042 Holdings case noted above, for example, the EEOC

pled that multiple women working at the defendant’s inn were harassed. The defendant

brought a Rule 12(e) motion for a more definite statement asking that EEOC be required

to fully identify individual persons aggrieved. The court denied the motion, concluding

EEOC’s pleading was sufficient because it included, as quoted above, one named

individual and a description of the class of aggrieved persons as well as information on

the timing, perpetrators, types of harassing conduct, the claims, and their elements as to

the named individual. 2010 WL 148085, at *4. Similarly, the court in EEOC v. PMT

Corp., found allegations informing an employer of the nature, extent, location, time

period, and persons involved in the unlawful conduct sufficient “to allow the employer

to reasonably estimate the number and identities of persons who may be impacted.” 40

F. Supp. 3d at 11. The court quoted from the court’s order in EEOC v. Original

Honeybaked Ham Co. of Ga., 918 F. Supp. 2d 1171, 1180 (D. Colo. 2013), a similar case

in which the court noted that the defendant (like BNSF here) did not argue it was unable

to ascertain the potential aggrieved individuals impacted by looking at its own records.

40 F. Supp. 3d at 1180.




                                             5
    8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 6 of 10 - Page ID # 734




    II.      EEOC’s Second Amended Complaint sufficiently alleges that this
             identifiable group of female employees worked (and in some cases
             still work) in the same hostile work environment in BNSF’s
             Alliance railyard.

          EEOC’s Second Amended Complaint meets the Court’s requirement that it

provide sufficient factual information for the Court to determine whether “the female

employees referenced in the Amended Complaint suffered similar acts of similar

discrimination by the same actors during the same time frame.” 3 Doc. 28, ¶ 18.

                 A. Merker, the examplars, and other aggrieved individuals
                    faced the same or similar discrimination.

          EEOC alleges that the group of “persons aggrieved” faced similar discrimination.

With the added narrative allegations of the four exemplar aggrieved persons, the facts in

the complaint show that Rena Merker, Jane Doe, Sally Doe, Tina Doe, and other

aggrieved individuals experienced the same or similar types of sexual harassment in

BNSF’s railyard in Alliance. They were, for example, subjected to come-ons or offensive

or sexualized comments about, or touching of, their bodies. Doc. 41, ¶ 25 (a)-(b)

(Merker), ¶ 53, 55 (Sally Doe), ¶ 59, 60 (Karen Doe), ¶ 72, 87 (others). Multiple women

were subjected to comments belittling them or indicating hostility toward them because


3 The Court derived this standard from cases in which courts analyzed whether
individuals seeking to intervene in EEOC enforcement actions who had not filed their
own EEOC charges could “piggyback” on a charge filed by another individual. Doc. 28,
p. 17 (citing cases). Those courts have required that the intervenor present what they
termed an “identical” or “nearly identical” claim to the charging party. Plaintiff EEOC
does not necessarily agree that these cases are applicable. As the Court noted, however,
these courts defined an “identical” claim to be one alleging “similar discrimination by
the same actors during the same time frame.” Doc. 28, p. 17. As discussed in this brief,
EEOC’s allegations meet that standard.
                                              6
 8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 7 of 10 - Page ID # 735




they are female. Doc. 41, ¶ 25 (c)-(d) (Merker), ¶ 54, 56 (Sally Doe), ¶ 60, 63 (Karen

Doe), ¶ 66-69 (Tina Doe), ¶ 72, 83-85, 87 (others). They worked among offensive

sexualized graffiti and/or were shown nude pictures of female coworkers. Doc. 41, ¶ 34-

35, 76 (Merker), ¶ 46, 47 (Jane Doe), ¶ 62 (Karen Doe), ¶ 70-71 (Tina Doe), ¶ 72, 73, 74,

75, 77 (others). Many had to work in unsanitary conditions made more so by male

coworkers as an expression of their hostility toward their female coworkers. Doc. 41, ¶

30, (Merker), ¶ 44 (Jane Doe), ¶ 78-82 (Merker, the exemplars, and others). They all

worked in the hostile work environment described in paragraphs 72-87, and the

Complaint specifically alleges that the aggrieved individuals did too. See id. and ¶¶ 72,

78, 83.

       It can further be inferred from specific allegations that any woman who used the

women’s locker room, used one of the exits from the main building in Alliance, or

worked on locomotives was subjected to the same or similar crude and offensive images.

These include the picture of a woman sucking a penis in the women’s locker room, the

framed photograph of a man with his penis hanging out at the exit, and the ubiquitous

drawings of male and female genitalia and gender slurs on BNSF’s locomotives. Doc. 41,

¶¶ 74 (locker room), ¶ 77 (exit), and, e.g., ¶¶ 73, 75, 76 (locomotives). All women who

parked in BNSF’s lot on the day a nude photograph of a male employee’s wife was

placed on car windshields was exposed to the same photograph. Doc. 41, ¶ 35. Any

woman who worked on locomotives – including all Engineers and Conductors – long

enough to need to use the bathroom on board would be subjected to the same ongoing

pattern of male workers soiling the unisex locomotive rest rooms to make them


                                             7
  8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 8 of 10 - Page ID # 736




unsanitary or unusable by women. Doc. 41, ¶¶ 78, 82. If any of those women avoided

using bathrooms on the locomotives as result, she risked developing urinary tract

infections. Id. at ¶ 82 (multiple women in TY&E positions suffered UTIs).

                   B. A common group of harassers created and maintained
                      the hostile environment to which the aggrieved
                      individuals were subjected.

       The hostile work environment experienced by the aggrieved individuals was

created by the same coworkers or supervisors working in the same division and crafts at

the same BNSF location. Doc. 41, ¶ 17. Many male TY&E employees in the Alliance

railyard contributed to the hostile work environment, and their actions were repeatedly

condoned — and sometimes fostered — by supervisory and management personnel

above them. Doc. 41, ¶ 17-19. All these workers reported to Jeff Stevens, the

Superintendent for the Alliance facility, who received multiple reports from multiple

women about the harassing conduct. Id. ¶¶ 38, 70, 94. The focus of a sexual harassment

case involving a hostile environment that has existed continuously for a long period of

time is not on a particular individual harasser or harassers. The focus is on BNSF as a

company, including its knowledge of the harassment and failure to take effective action

to prevent or correct it.

                   C. The aggrieved individuals suffered harassment during
                      the same time period.

       EEOC has consistently alleged that BNSF created a sexually hostile work

environment at its Alliance, Nebraska railyard from at least October 2011 through the

present. Doc. 41, ¶ 9-11, Exh. 2 (Letter of Determination); Doc. 1, ¶ 16; Doc. 10, ¶ 16.


                                              8
    8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 9 of 10 - Page ID # 737




EEOC’s First Amended Complaint alleged facts throughout that time period, and the

Court rejected BNSF’s argument that evidence of events prior to 300 days before Ms.

Merker’s charge are time-barred because EEOC sufficiently pled a continuing violation.

Doc. 10, ¶ 16; Doc. 41, p. 6-7. 4 EEOC’s Second Amended Complaint specifies that the

aggrieved individuals for whom the agency seeks relief experienced a sexually hostile

work environment after March 23, 2017, and that “[s]ome acts of harassment that

contributed to a sexually hostile work environment . . . occurred prior to March 23, 2017

and, for some women, as far back as October 2011.” Doc. 41, ¶ 22-23.

                                     CONCLUSION

        The Court correctly found that the EEOC was not required at the pleading stage

“to proffer detailed allegations outlining every single time Merker experienced

harassment.” Doc. 28, p. 11. The same is true of the agency’s allegations regarding other

aggrieved individuals. At the pleading stage, the agency is not required to proffer

detailed allegations outlining every instance in which an aggrieved individual

experienced harassment. The Second Amended Complaint gives BNSF sufficient

information to assess its potential liability and gives the Court sufficient information to

decide any potential motion to intervene by an individual aggrieved person and to assess

questions of proportionality in discovery. The Court should deny BNSF’s third Motion to

Dismiss and allow the case to proceed to a determination on the merits.




4 See also Second Amended Complaint ¶ 101 (alleging sexually hostile work environment
from at least October 11, 2011 to the present constitutes a continuing violation).
                                             9
 8:21-cv-00369-BCB-SMB Doc # 55 Filed: 06/10/22 Page 10 of 10 - Page ID # 738




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                                           10
